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  11
                            UNITED STATES DISTRICT COURT
  12
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  14
     PARAMOUNT PICTURES                        Case No. 2:19-cv-01156-DMG-PJWx
  15 CORPORATION; COLUMBIA
     PICTURES INDUSTRIES, INC.;
  16 DISNEY ENTERPRISES, INC.;                 DECLARATION OF ROSE LEDA
     TWENTIETH CENTURY FOX FILM                EHLER IN SUPPORT OF
  17 CORPORATION; WARNER BROS.                 PLAINTIFFS’ MEMORANDUM IN
     ENTERTAINMENT INC.;                       OPPOSITION TO DEFENDANTS’
  18 UNIVERSAL CITY STUDIOS                    EX PARTE APPLICATION TO
     PRODUCTIONS LLLP; UNIVERSAL               REQUEST THAT THE COURT
  19 TELEVISION LLC; and UNIVERSAL             COMPEL MEDIATION
     CONTENT PRODUCTIONS LLC,
  20                                           Judge: Hon. Dolly M. Gee
              Plaintiffs,                      Courtroom: 8C
  21
          vs.                                  Magistrate Judge: Hon. Patrick J. Walsh
  22
     OMNIVERSE ONE WORLD                       Filed concurrently:
  23 TELEVISION, INC.; JASON M.
     DEMEO,                                    Plaintiffs’ Memorandum in Opposition
  24                                           to Defendants’ Ex Parte Application to
              Defendants.                      Request that the Court Compel
  25                                           Mediation
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                                                                      Case No. 2:19-cv-01156
                                DECLARATION OF ROSE LEDA EHLER
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   1                     DECLARATION OF ROSE LEDA EHLER
   2 I, Rose Leda Ehler, hereby declare:
   3        1.     I am an attorney with Munger, Tolles & Olson LLP, counsel for
   4 Plaintiffs in the above-captioned matter. I am a member of the California Bar and
   5 am admitted to practice before this Court. I submit this declaration in support of
   6 Plaintiffs’ Memorandum in Opposition to Defendants’ Ex Parte Application to
   7 Request that the Court Compel Mediation. I have knowledge of the matters set forth
   8 below based on my direct involvement in this matter and the direct involvement of
   9 other lawyers at my firm. If called as a witness, I could and would testify
  10 competently to the facts stated herein.
  11        2.     Counsel for Defendants in this action told us that Hovsat’s owner,
  12 Shant Hovnanian, is apparently in Armenia. Court records show that Hovnanian
  13 had a default judgment entered against him for over $16 million in civil tax
  14 penalties. United States v. Hovnanian, Case No. 3:18-cv-15099-AET-LHG, ECF
  15 No. 35 (D.N.J. July 25, 2019) (default judgment).
  16        3.     Attached as Exhibit A are the true and correct copies of discovery
  17 responses Defendants served on August 6, 2019, to Plaintiffs’ First Set of Requests
  18 for Admission and First Set of Interrogatories to Defendant Omniverse.
  19        4.     Attached as Exhibit B is a true and correct printout of a news article
  20 from industry blog “Light Reading” discussing Defendant DeMeo’s new service,
  21 OSTV Now: https://www.lightreading.com/video/video-services/ostv-now-
  22 omniverse-exec-offers-one-stop-shop-for-tv/a/d-id/753420, which was accessed on
  23 August 19, 2019.
  24        5.     Attached as Exhibit C is a true and correct screenshot of Defendant
  25 DeMeo’s new streaming service OSTV Now’s website, https://www.ostvnow.com/,
  26 which was accessed on August 20, 2019.
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                                DECLARATION OF ROSE LEDA EHLER
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   1        6.     Attached as Exhibit D is a true and correct screenshot of Defendant
   2 DeMeo’s personal website, https://www.jasondemeo.com/, which was accessed on
   3 August 20, 2019.
   4        7.     Attached as Exhibit E is a true and correct copy of Plaintiffs’ email
   5 correspondence to Defendants on August 9, 2019, initiating the meet and confer
   6 process for a motion to compel under Judge Walsh’s procedures.
   7        8.     Attached as Exhibit F is a true and correct copy of email
   8 correspondence between Plaintiffs and Defendants regarding Defendants’ decision
   9 to end settlement negotiations and demand mediation.
  10        I declare under penalty of perjury under the laws of the United States of
  11 America that the foregoing is true and correct.
  12
  13        Executed on August 20, 2019 at Los Angeles, California.
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  15                                               /s/ Rose Leda Ehler
                                               ROSE LEDA EHLER
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                                DECLARATION OF ROSE LEDA EHLER
